
PER CURIAM.
We reverse the order adjudicating Appellant’s minor child dependent. The Department of Health and Rehabilitative Services correctly concedes that reversal of the order is required because the order fails to state the facts upon which the court’s findings are made. Luszczyk v. Department of Health &amp; Rehabilitative Servs., 576 So.2d 431 (Fla. 5th DCA 1991); § 39.409(3), Fla.Stat. (1991); Fla.R.Juv.P. 8.330(g); see Fielder v. Department of Health &amp; Rehabilitative Servs., 596 So.2d 520 (Fla. 5th DCA 1992). The order is therefore reversed and the cause is remanded.
